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       EXHIBIT 10
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             Ms. Lois Kalman
             Registrar

             Joseph Bruneau
             Hruby Hall 207
                 6470

                                                          100ctober1989

             Dear Ms. Kalman;

             On the suggestion of Paul Netscrl, lleartior.Sturi_ent _Development, I am requesting to
             change the record of myjregistraticm for the winter semester of the 88/59 academic year
             (second semester of last year). During this time, I was fighting an filiness that required
             hospitalization at mid-semester, and was from then on recovering and acclimating
             myself to my medications.

             So, I am asking that, if possible, the courses Statistics (ST-151) and Minds and
             Machines (PH-26U) be dropped from the record. For the same for-mentioned reasons, I
             also ask that I be taken off academic probation which I was placed because of the grades
             I received at that time I am willing to discuss any of the reasons concerning my
             request in greater depth—at your request Please keep me informed, and I thank you
             for your consideration.

                                                          Sincereiy„

                                                          Jr/fpc-gWr ie

                                                          Joseph Bruneau
